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FRANK J. FEDER]CO, ll, ESQ., * lN THE ClRCUIT

6800 York Road
Baltimore, Maryland 21212 * COUR'I` OF

 

and * MARYLAND FOR
FRANK J. FEDERICO, ll, P.A., * BALT|MORE COUNTY
6800 York Road
Baltimore, Maryland 21212 *
Plaintiffs, *
vs. *
EVAN M. GOLDMAN, ESQ., *
36 South Charlcs Street, Suite 2401 E,' uu)> g
Baltimore, Maryland 21201-3108 * § .. ,P>_
,, 9 § ""§:~`
and '<~ "~‘
ce m
coLnMAN & GoLDMAN, P.A., * §§ §
Serve on Resident Agent: § §
Brian A. Go|dman "' " §§
36 south charles s¢r.=er, suite 2401 53
Baltimore, Mary|and 21201-3|08 *
and *
AMERICAN EXPRESS BANK, FSB, *
Serve on President & CEO:
Douglas H. Short, lll *
431$ South 2700 Wcst
Salt Lake City, Utah 84184 *
Case No.:
Defendants. *
* * k § * * * * k * »\’ # * k
COMPLA|NT

NOW COMES, Frank J. cherico, lI and Frank J. cherico, |l, P.A.. hereinaRer
Plaintiffs, through and by l'~`rank .|. Federico, Il, as an Attorney licensed to practice law in the

State of Maryland, and hereby sue Defendants Evan M. Goldman, Goldman & Goldman, P.A.,

and American Express Bank, FSB, and for grounds therefore states:

 

 

 

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THE PAR'I`lES, JURISD|CTION, AND VENUE

l. Plaintil`l` Frank .l. Federico, ll, Esquire (“Fedcrico"), is an individual domiciled in
Baltimore County, Maryland and has a principle place of business located in Baltimore County,
Maryland.

2. Plaintil`l` Frank J. Federico, ll, P.A. is a corporation organized under the laws ol`
the State of Maryland, with its principal place of business located at 6800 York Road, Baltimore,
Maryland 212|2 and its corporate officer and proprietor being Co-Plaintil`l` Frank J. Federico. ll.
Esquire.

3. Def`endant Evan M. Goldman, Esquire (“Goldman”) isa resident of the State of
Maryland and habitually engages in vocation and business in Baltimorc County, Maryland.

4. Defendant Go|dman & Go|dman, P.A. is a corporation organized under the laws
ol` the State of Maryland and regularly transacts business in Baltimore County, Maryland.

5. Del`endant American Express Bank, FSB (“American Exprcss") is a federally
chartered banking institution, with its principal place of business located at 4315 South 2700
West, Salt Lake City. Utah 84184.

6. Jurisdiction is appropriate in this Court pursuant to Scction 6-|02 of the Courts
and Judicial Proceedings Article of the Annotated Code of lvlaryland. Venue is appropriate in
this Court pursuant to Section 6-201 of the Courts and Judicial |’roceedings Article of the
Annotated Code ol` Maryland.

FACTS
7. That Del'endant Ameriean Express. Plaintil`l` Frank .l. Fedcrico, ll, Esquire, and

Plaintiff'ank J. Federico, I'.. P.A. are parties to the Line oi` Credit for Business Agreement

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pursuant to which American Express opened an Open Card Account, Account No. 3715-495874-
61002 for the Plaintii`fs and issued an Open Card on the Open Card account unto the Plaintif`fs.

8, That in addition to the account mentioned in Paragraph 7 ol` this Complaint.
Plaintifl` Frank J. Federico, Il, Esquire retains several other personal and business credit cards/
lines with American Express, being a card carrier since the year of 1983.

9. That Del`endant American Express has alleged that Plaintil`l`s have defaulted on
the Line of Credit for Business Agreement mentioned herein in Paragraph 7 by failing to pay the
balance due pursuant to the monthly statements issued to Plaintil`l`s.

10. That Del`endant American Express has retained Del`endants Evan M. Go|dman,
Esquire and thereby the law firm of Goldmnn & Go|dman, P.A. to pursue collection efforts oi`
the alleged amounts due from Plaintifi`s.

FACTUAL ALLEGAT!ONS

l`l. That Del`enda;:ts Evan M. Goldman, Esq. and Goldman & Go|dman, P.A.
repeatedly contacted Plaintiff Frank .l. Federico, ll, Esquire at his place ol` employment through
telephone calls, facsimiles, and U.S. Mail, in violation of the Federal Fair Debt Collection
Practices Act, codified at 15 U.S.C. § 1692c(a)(3).

|2. That Del'endant American Express and its representatives contacted Plaintil`f
Frank .l. Federico, Il, Esquire at his place ol`employment through telephone calls, facsimilcs. and
U.S. Mail, in violation ol` the Federa| Fair cht Co|lection Practices Act, codified at 15 U.S.C. §
l6920(a)(3).

l3. That Defcndants Evan M. Go|dman, Esq. and Go|dman & Go|dman, P.A.

repeatedly harassed and abused Plaintiff Frank J. Federico, Il, Esquire by the ways and means

 

 

 

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stated herein, in violation of the Federal Fair Debt Collection Practices Act, codified at 15 U.S.C.
§1692d

14. That Dei`endant American Express and its representatives repeatedly harassed and
abused Plaintiff Frank .l. Fedcrico, II, Esquire by the ways and means stated herein, in violation
of the Federal Fair Debt Collection Practices Act, codified at 15 U.S.C. §1692d

15. That during the course of a telephone conversation from Def`endant Evan M.
Goldman, Esquire to P|aintit`l` Frank J. Federico, 11, Esquire, at his place ol` business as alleged in
Paragraph 11 of this Complaint, Defendant Goldman instructed Plaintif'f Federico to borrow
money from Plaintil`l’s brother, Philip Federico, Esquire of Schochor, Federico, and Staton, P.A.,
knowing that Plaintif`f”s brother is a successful and prosperous attomey, in order to pay the
alleged debt due his client, American Express; and, in doing so, caused Plaintiff` to undergo
emotional distress regarding his relationship with his brother.

16. That during the course of` a telephone conversation from Dcf`endant Evan M.
Goldman, Esquire to Plaintir`f` Frank .l. Federico, ll, Esquire, Defendant Go|dman stated to
Plaintif`f Federico, knowing Plaintii`i` to be an attorney, that Def'endant Go|dman had pursued
another attorney in Washington, D.C. f`or debt collection and forced that attorney to file
bankruptcy and to endure further distress through the malicious and vicious collection tactics
Det`endant Go|dman used; and further that Del`endant Go|dman threatened Plaintif`f` Federico by
stating that he intended to use the same aforementioned tactics against Plaintift`I-`ederico if he did

not heed to Defendant Goldman's wishes.

17. That during the course of excessive additional telephone calls f`rom Del`endants

Evan M. Goldman, Esq. and Go|dman & Goldman, P.A. to Plaintif`l` Frank .l. Federico, 11,

 

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Esquire, Defendants used excessively coarse, threatening, malicious, and otherwise abusive
language with the intent to threaten, abuse, and annoy Plaintiff.

18. That during the course of collection efforts by Defendant American Express,
P|aintiff'l~`rank .l. Federico, Il. Esquire, made an arrangement with a representative of Defendant
American Express in which Plaintiff Federico would remit a lump-sum payment ol`
approximately $20,000 to be distributed appropriately among all of Plaintiff"s credit card/ line
accounts with Defendant American Express to bring all accounts current. Such a payment was
made, however Defendant American Express failed to apply the payment according to the
instructions of and the agreement with Plaintiff Federieo in order to satisfy the delinquency of all
accounts with Defendant American Express in violation of the Federal Fair Debt Collection
Practices Act, codified at 15 U.S.C. § l692f.

19. That subsequent to the events occurring in Paragraph 18 of this Complaint, a
representative of Defendant American Express placed a phone call to Plaintiff l~`rank .l. Federico,
lI, Esquire, at his place of bt.siness, and stated that a $24.00 balance remained on one of the
credit card/ line accounts Plaintiff Federico sustains with Defendant American Express, and that
if` payment was not remitted immediately, Defendant American Express would close and charge
off every other account Plaintiff Federico sustained with same.

20. That several days subsequent to the payment mentioned in Paragraph 18 of this
Complaint, a representative of Defendant American Express solicited Plaintif`f Frank .l. Federico,
ll, Esquire to apply and subsequently be accepted for an American Express Platinum credit card,
showing the bad faith of Defendant American Express in allowing P|aintiff Federico to further
indebt himself to Defendant American Express while having numerous other accounts with that

same company that at the time were being pursued for collection.

 

 

 

 

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COUNT ONE

21. That in this Count Plaintif`f Frank J. Federico, ll, Esquire sues Defendant Evan M.
Goldman, Esquire and incorporates and realleges all facts and allegations contained in all
previous parts of this Complaint as though they were fully set forth herein.

22. That as a direct and proximate result of the actions of the Defendant alleged
herein, Plaintiff Frank J. Federico, ll, Esquire sustained severe emotional turmoil and duress, loss
of income, and physical injuries as follows:

A. The constant harassment, abuse, threats, and otherwise malicious tactics
by the Defendant as described herein caused severe emotional turmoil and duress to be endured
by Plaintiff Frank J. Federico, Il, Esquire,

B. The excessive telephone calls to Plaintiff Frank J. Federico, ll, Esquire’s
place of business caused exorbitant amounts of time, energy, and resources to address that would
have otherwise been spent addressing to Plaintiff"s practice, thereby causing significant amounts
of lost income.

C. The emotional turmoil and duress suffered by Plaintiff Frank .l. Federico,
ll, Esquire, as a result of the actions of Defendant, directly and causally contributed to the
formation of a chronic pulmonary embolism in Plaintiff's right leg that subsequently traveled
through Plaintiff’s heart and then into Plaintiff’s lungs causing (i) Plaintil`f to be initially
hospitalized on or about March 28, 2009 at Bebe Medical Center for several days, (ii) Plaintif`f's
multiple subsequent hospitalizations at other hospitals, (iii) Plaintif`f’s current and prospective
out-patient treatment, (iv) Plaintiff's life-long necessity of taking medication, and (v) other
current and prospective medical conditions and the treatment of such conditions in association

with the conditions stated herein.

 

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D. That as a result of the Plaintiff's aforementioned hospitalization and
subsequent treatment as described in Paragraph 22(C) of this Complaint, Plaintiff suffered
further emotional pain and duress being advised by medical professionals, in addition to other
consequences and realities associated thereto, that fewer than 3% of patients inflicted with said
conditiori survive after onset.

E. That as a result of Plaintiff’s aforementioned hospitalization, subsequent
treatment, and further emotional duress as a result thereto described in Paragraphs 22(C) and
22(D) of this Complaint, exorbitant amounts of time, energy, and resources were unable to be
devoted to Plaintiff's practice, thereby causing significant amounts of loss of income.

23. That Plaintiff was further caused and will be prospectively caused to undergo
extensive medical treatment for the care of the aforementioned injuries.

24. That all of Plaintiff’s said injuries, damages and losses, past, present and
prospective, were caused solely by the conduct of Defendant, without any want of due care on
the part of Plaintiff contributing thereto.

lf'HERFGRE, Plaint{g` Frank J. Federico, ll, Esquire hereby sues Defendant Evan M.
Goldman, Esquire and claims the sum of TEN M!LL!ON DOLLA RS ($]0,000,000.00) in actual
compensatory damages ji'om the Defendant and court costs and counsel jées.

COUNT TWO

25. That in this Count Plaintiff Frank J. Federico, ll, P.A. sues Defendant Evan M.
Goldman, Esquire and incorporates and realleges all facts and allegations contained in all
previous parts of this Complaint as though they were fully set forth herein.

26. That as a direct and proximate result of the damages sustained by its corporate

officer, sole proprietor, and sole practitioner PlaintifT Frank J. Federico, ll, Esquire as described

 

 

 

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in Paragraphs 22 and 23 of this Complaint; Plaintiff Frank J. Federico, il, P.A., as a corporation,
experienced diminished earning capacity and thereby financial turmoil resulting in significant
loss of revenue.

27. That all of Plaintiff`s said damages, past, present and prospective, were caused
solely by the conduct of Defendant, without any want of due care on the part of Plaintif`f`
contributing thereto.

WHERFORE, Plat'ntrf Frank J. Federico. Il, P.A. hereby sues Defendant Evan M.
Goldman, Esquire and claims the sum of TEN MILLION DOLLARS ($ 10, 000.000.00) in actual
compensatory damages from the Defendant and court costs and counsel fees

COUNT THREE

28. That in this Count Plaintiff Frank J. Federico, ll, Esquire sues Defendant
Goldman & Goldman, P.A. and incorporates and realleges all facts and allegations contained in
all previous parts ol` this Complaint as though they were fully set forth herein.

29. That Co-Defendant Evan M. Goldman, Esquire, is, and was at all times relative to
this action, an employee and' or corporate officer of the corporation, Defendant Goldman &
Goldman, P.A. and was acting as an authorized representative of that corporation within the
scope of his agency and/ or authority.

30. That as a result of actions of Co-Defendant Evan M. Goldman, Esquire on behalf
of Defendant Goldman & Go|dman, P.A., Plaintiff suffered the damages described in Paragraphs
22 and 23 of this Complaint.

31. That all of Plaintiff’s said injuries, damages and losses, past, present and
prospective, were caused solely by the conduct of Defendant, without any want of due care on

the part of Plaintiff` contributing thereto.

 

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WHERFORE, Plainttf/]`Frank J. Ferlerico, ll, Esquire hereby sues Defendant Goldman
& Goldman, P.A. and claims the sum of TEN MlLLlON DOLLARS (510.000.000.00) in actual
compensatory damages from the Defendant and court costs and counsel jees.

COUNT FOUR

3_2. That in this Count Plaintiff Frank .l. Federico, ll, P.A. sues Defendant Goldman &
Goldman, P.A. and incorporates and realleges all facts and allegations contained in all previous
parts of this Complaint as though they were fully set forth herein.

33. That as a direct and proximate result of` the damages sustained by its corporate
officer, sole proprietor, and sole practitioner Plaintifl` Frank .l. Federico, ll, Esquire as described
in Paragraphs 22 and 23 of this Complaint; Plaintil`f Frank .l. Federico, ll, P.A., as a corporation,
experienced diminished earning capacity and thereby financial turmoil resulting in significant
loss of revenue.

34. That all of Plaintiff’s said damages, past, present and prospective, were caused
solely by the conduct of Defendant, without any want of due care on the part of Plaintif`f`
contributing thereto.

WHERFORE, Plainttj]" Frank J. chert'co, ll, P.A. hereby sues Defendant Goldman &
Goldman, P.A. and claims the sum of TEN MILLION DOLLARS (310,000,000.00) in actual
compensatory damages from the Defendant and court costs and counsel fees

COUNT FIVE

35. That in this Count Plaintiff Frank J. Federico, ll, Esquire sues Defendant

American Express Banks, FSB and incorporates and realleges all facts and allegations contained

in all previous parts of this Complaint as though they were fully set forth herein.

 

 

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36. That as a direct and proximate result of the actions of the Defendant and its
authorized agents and representatives alleged herein, Plaintiff Frank J. Federico, ll, Esquire
sustained severe emotional turmoil and duress, loss of income, and physical injuries as follows:

A. The constant harassment, abuse, threats, and otherwise malicious tactics
by the Defendant as described herein caused severe emotional turmoil and duress to be endured
by Plaint'if`f` Frank .l. Federico, Il, Esquire,

B. The excessive telephone calls to Plaintifl` Frank J. Federico, ll, Esquire’s
place of business caused exorbitant amounts of time, energy, and resources to address that would
have otherwise been spent addressing to Plaintiff`s practice, thereby causing significant amounts
of lost income.

C. 'I`he emotional turmoil and duress suffered by Plaintifl` Frank J. Federico,
ll, Esquire, as a result of the actions of Defendant, directly and causally contributed to the
formation of a chronic pulmonary embolism in Plaintiff’s right leg that subsequently traveled
through Plaintiff’s heart and then into Plaintiff’s lungs causing (i) Plaintiff to be initially
hospitalized on or about March 28, 2009 at Bebe Medical Center for several days, (ii) PlaintiH"s
multiple subsequent hospitalizations at other hospitals, (iii) Plaintiff’s current and prospective
out-patient treatment, (iv) Plaintiff’s life-long necessity of taking medication, and (v) other
current and prospective medical conditions and the treatment of such conditions in association

with the conditions stated herein.
D. That as a result of the Plaintiff’s aforementioned hospitalization and
subsequent treatment as described in Paragraph 22(C) of` this Complaint, Plaintiff suffered

further emotional pain and duress being advised by medical professionals, in addition to other

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consequences and realities associated thereto, that fewer than 3% of patients inflicted with said
condition survive after onset.

E. That as a result of Plaintiff’s aforementioned hospitalization, subsequent
treatment, and further emotional duress as a result thereto described in Paragraphs 22(C) and
22(D) of this Complaint, exorbitant amounts of time, energy, and resources were unable to be
devoted to Plaintiff’s practice. thereby causing significant amounts of loss of income.

37. That Plaintiff was further caused and will be prospectively caused to undergo
extensive medical treatment for the care of the aforementioned injuries.

38. That Co-Defendants Evan M. Goldman, Esquire and Goldman & Goldman, P.A.
are the attorneys in fact for Defendant American Express, and acted as authorized representatives
of Defendant American Express within the scope of their agency and/ or authority.

39. That as a result of actions of Co-Defendants Evan M. Goldman, Esquire and
Goldman & Goldman, P.A., Plaintiff suffered the damages described in Paragraphs 22 and 23 of
this Complaint,

40. 'I`hat all of Plaintiff’s said injuries, damages and losses, past, present and
prospective, were caused sole ly by the conduct of Defendant, without any want of due care on
the part of Plaintiff contributing thereto.

WHERFORE, Plaintw' Frank J. Federico. Il, Esquire hereby sues American Express
Banlc. FSB and claims the sum of TEN MILLION DGLLARS (510,000.000.00) in actual

compensatory damages from the Defendant and court costs and counsel fees.

COUNT SIX

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4l. That in this Count Plaintiff Frank J. _Federico, ll, P.A. sues Defendant American
Express Bank, FSB and incorporates and realleges all facts and allegations contained in all
previous parts of this Complaint as though they were fully set forth herein.

42. That as a direct and proximate result of the damages sustained by its corporate
officer, sole proprietor, and sole practitioner Plaintiff Frank .l. Federico, II, Esquire as described
in Parag,raphs 36, 37, and 39 of this Complaint; Plaintiff Frank J. Federico, ll, P.A., as a
corporation, experienced diminished earning capacity and thereby financial turmoil resulting in
significant loss of revenue. `

43. That all of Plaintiff’s said damages, past, present and prospective, were caused
solely by the conduct of Defendant, without any want of due care on the part of Plaintifi`
contributing thereto.

WHERFORE, Plaintrf Frank J. Federico. ]I, P.A. hereby sues Defendant American
Express Bank, FSB and claims the sum of TEN MILLION DQLLARS (310,000,000.00) in actual

compensatory damages from the Defendant and court costs and counsel fees.

Respectfully submitted,

Fr§nl€ J. derico, lI, Esqui§
6800 Yo Road

Baltimore, Maryland 21212
(410) 823-4880

Attomey at I_.aw

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